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                   IN THE UNITED STATES DISTRICT COURT                  .     ,      "        [MID
                       FOR THE DISTRICT OF MARYLAND                70/9 DEC -4 PN 2: 35

GARY WASHINGTON,

                 Plaintiff                                        BY------               DEPUTy

        V.                                 Case No. 1:19-cv-02473-GLR

BALTIMORE POLICE DEPARTMENT,
THOrvIAS PELLEGRINI, OSCAR                 Judge Stephanie A. Gallagher
REQUER, RICHARD FAHLTEICH,
JOHN TEWEY, FRED CERUTI, JOHN
MACGILLIVARY, UNKNOWN                      JURY TRIAL DEMANDED
EMPLOYEES OF THE BALTIMORE
POLICE DEPARTMENT, AND MAYOR
AND THE CITY COUNCIL OF
BALTIMORE,

                 Defendants


                                         ORDER


        Upon consideration, Plaintiffs Motion For Extension of Time is GRANTED.
Plaintiff has up until and including January 7, 2020 to respond to Defendants'
Motion to Dismiss, Dckt No. 29.




Date:


Signed:
               SICPh~dgC
               UNITED STATES DISTRICT JUDGE
